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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                Plaintiff,                       §
                                                 §
        v.                                       § Case No. 1:24-CV-00798-ADA
                                                 §
SOUTHWEST KEY PROGRAMS, INC.,                    §
                                                 §
                Defendant.                       §


                     JOINT NOTICE CONCERNING REFERENCE TO
                        UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 636(c), Federal Rule of Civil Procedure

73, and the Local Rules of the United States District Court for the Western District of Texas, the

United States and Southwest Key Programs, Inc., jointly, through undersigned counsel, decline

to consent to trial before a United States Magistrate Judge.


Dated: March 3, 2025                          Respectfully submitted,

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                                              Deputy Assistant Attorney General
                                              Civil Rights Division
                                              United States Department of Justice

                                              CARRIE PAGNUCCO
                                              Chief

                                              s/ Katie Legomsky
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                                              Deputy Chief
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Attorneys for Defendant

                             CERTIFICATE OF CONFERENCE

       I certify that on February 27-28, 2025, the Parties conferred and agreed to the terms of

this Joint Notice Concerning Reference to United States Magistrate Judge.

                                             /s/ Katie Legomsky                    .
                                             Katie Legomsky
                                             Attorney for the United States




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